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AO 91 (Rev. 02/09) Criminal Complaint

 

UNITED STATES DISTRICT COURT

 

for the
District of Arizona c
¥ WO United States of America ) | :
V2 \\? V. ) >- (S21 WT.
\ a4 Francisco Arvizu, ) Case No. /
a.k.a.: Francisco Arvizu-Carabajal, ) |
(A098 921 822) y .
Defendant — )
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of August 15, 2017 in the County of Maricopa, in the District of Arizona,
the defendant violated Title 8, U.S.C. § 1326(a), an offense described as follows:

Francisco Arvizu, an alien, was found in the United States of America at or near Phoenix, in the
District of Arizona, after having been previously denied admission, excluded, deported, and removed
‘from the United States at or near Nogales, Arizona, on or about January 31, 2006, and not having.
obtained the express consent of the Secretary of the Department of Homeland Security to reapply for
admission thereto; in violation of Title 8, United States Code, Section 1326(a), and enhanced by OND).

I further state that lama Deportation Officer.

This criminal complaint i is based on these facts:
See Attached Statement of Probable Cause Incorporated By Reference Herein

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REVIEWED BY: Charles E. Bailey, P.S. for AUSA Cassie Bray Woo

NX
[x] Continued on the attached sheet. L2L

Lo Complainant’s signature

Darrin J. McNeill,
Deportation Officer

 

Printed name and title

Sworn to before me and signed in my presence.

 

Date: August 16, 2017

 

Judge’s signature

David K. Duncan,
City and state: _Phoentx, Arizona United States Magistrate Judge

Printed name and title
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STATEMENT OF PROBABLE CAUSE

1, Darrin J. McNeill, being duly sworn, hereby depose and state as follows:

1. Your affiant is a Deportation Officer with United States Immigration and Customs
Enforcement (ICE). I have learned from direct participation in the investigation and
from the reports and communications of. other agents and officers the facts recited

herein.

2. On August 15, 2017, while following a lead, officers with the Phoenix ICE Fugitive
Operations Program Unit II encountered Francisco Arvizu during a traffic stop at the
intersection of North 51% Street and McDowell Road, in Phoenix, Arizona. At the
scene, Deportation Officer J. Joyner interviewed Arvizu and determined him to be a
citizen of Mexico, illegally present in the United States. On the same date, Arvizu was
transported to the Phoenix ICE office for further investigation and processing. Arvizu

was held in administrative custody until his criminal and immigration records could

be obtained and his identity confirmed.

3. Immigration history checks revealed Francisco Arvizu to be a citizen of Mexico and a
previously deported criminal alien. Arvizu was removed from the United States to
Mexico through Nogales, Arizona, on or about January 31, 2006, pursuant to an order

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of removal issued by an immigration judge. There is no record of Arvizu in any
Department of Homeland Security database to suggest that he obtained permission
from the Secretary of the Department of Homeland Security to return to the United
States after his removal. Arvizu’s immigration history was matched to him by

electronic fingerprint comparison.

. Criminal history checks revealed that Francisco Arvizu was convicted of Theft, a
felony offense, on January 17, 2006, in the Superior Court of Arizona, Maricopa |
County. Arvizu was sentenced to three (3) years’ probation. Arvizu’s criminal history

was matched to him by electronic fingerprint comparison. 2

. On August 15, 2017, Francisco Arvizu was advised of his constitutional rights.
Arvizu freely and willingly acknowledged his rights and declined to make any further

statements

. For these reasons, this affiant submits that there is probable cause to believe that on or
about August 15, 2017, Francisco Arvizu, an alien, was found in the United States of
America, at or near Phoenix, in the District of Arizona, after having been previously
denied admission, excluded, deported, and removed from the United States at or near
Nogales, Arizona, on or about January 31, 2006, and not having obtained the express

consent of the Secretary of the Department of Homeland Security to reapply for
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admission thereto; in violation of Title 8, United States Code, Section 1326(a), and

enhanced by (b)(1).

   

arrin J. McNeill, ~~
Deportation Officer,
Immigration and Customs Enforcement

sand-subscribed before me
tryzeAugust, 2017.

  
 
 

David K. Duncan,
United States Magistrate Judge
